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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TEXAS
                              SAN ANTONIO DIVISION

La Unión Del Pueblo Entero, et al.,   §
                                      §
                  Plaintiffs,         §
                                      §
       v.                             §     No. 5:21-cv-00844-XR
                                      §
Gregory W. Abbott, et. al.,           §
                                      §
                  Defendant.
                                      §
                                      §

   STATE DEFENDANTS’ AND INTERVENOR-DEFENDANTS’ SUPPLEMENTAL
         BRIEF ON FDA V. ALLIANCE FOR HIPPOCRATIC MEDICINE
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       In at least two ways, FDA v. Alliance for Hippocratic Medicine, 602 U.S. 367 (2024),

confirms that the organizational Plaintiffs have failed “to establish standing.” ECF No. 1136 at 1.

First, throughout this case, the organizational Plaintiffs have attempted to ground their standing

on an alleged “diversion of resources” to educating third parties about S.B. 1, id., but that is

precisely the theory of standing that Alliance for Hippocratic Medicine forecloses. Second, even

if Plaintiffs’ diversion-of-resources standing theory remained viable, Alliance for Hippocratic

Medicine independently forecloses their attempt to trace their alleged injuries to S.B. 1 as a whole

rather than to the specific provisions they challenge.

       The Court therefore should hold that the organizational Plaintiffs lack standing and dismiss

them from this case. The organizational Plaintiffs are the only parties who purport to bring

challenges to numerous sections of S.B. 1: sections 2.05, 2.06, 2.07, 3.04, 3.09, 3.10, 3.12, 3.13,

3.15, 4.12, and 7.02. Therefore, dismissing the organizational Plaintiffs will eliminate those

challenges and significantly narrow the issues remaining for the Court’s resolution.

I.     FDA v. ALLIANCE FOR HIPPOCRATIC MEDICINE CLARIFIES THE LAW OF
       ORGANIZATIONAL STANDING.

       Alliance for Hippocratic Medicine clarifies the law of organizational standing in two main

respects. First, it holds that “diversion of resources in response to a defendant’s actions is

insufficient to establish standing” and, thus, forecloses the so-called “resource-diversion” theory

of standing. ECF No. 1136 at 1.

       Alliance for Hippocratic Medicine addressed medical associations’ asserted organizational

standing to challenge several FDA policy decisions. 602 U.S. at 375-76. The plaintiffs alleged

that, in response to the FDA’s actions, they “expend[ed] considerable time, energy, and resources”

to “inform[ing] their members and the public about,” and “engaging in public advocacy and public

education” around, those actions. Id. at 394. The plaintiffs further alleged that these expenditures

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required them to divert resources “to the detriment of other spending priorities” and, thus,

“impaired their ability to provide services and achieve their organizational missions.” Id. To

support this theory of standing, the plaintiffs pointed to the Supreme Court’s decision in Havens

Realty Corp. v. Coleman, 455 U.S. 363 (1982), as well as the Fifth Circuit’s decision in OCA-

Greater Houston v. Texas, 867 F.3d 604 (5th Cir. 2017). See id. at 395; Brief for Respondents,

FDA v. Alliance for Hippocratic Medicine, 2024 WL 811351, at *44 (Feb 22, 2024) (citing OCA-

Greater Houston as leading example of “lower court caselaw” supporting their theory of standing).

       The Supreme Court unanimously rejected this theory. See Alliance for Hippocratic

Medicine, 602 U.S. at 394–95. As the Supreme Court reasoned, holding that resource diversion is

sufficient to confer standing would effectively allow any organization displeased by a law to

“spend its way into standing simply by expending money to gather information and advocate

against the defendant’s action.” Id. at 394. Such an “expansive theory of standing” is incompatible

with Article III. Id. And that is true even when the organization can show that its diversion of

resources came at the expense of, and impaired its ability to carry out, other aspects of its

organizational mission. See id. In other words, for an organization to establish standing based

upon impairment of its organizational mission, it must point to something other than its diversion

of resources to advocating against, or educating third parties regarding, the challenged action. See

id.

       The Supreme Court thus expressly clarified that Havens Realty does not countenance a

resource-diversion theory standing. See id. at 395. It specifically cautioned federal courts that

Havens Realty is “an unusual case” that they must be “careful” “not to extend.” Id. It further

explained that the Havens Realty plaintiff had standing not because it was an “issue-advocacy

organization” which diverted resources in response to the defendant’s actions, but instead because



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the defendant’s actions themselves directly interfered with the plaintiff’s operation as a housing

counseling service provider. Id. In particular, “when [the defendant] gave [the plaintiff] false

information about apartment availability, … [the defendant] perceptibly impaired [the plaintiff’s]

ability to provide counseling and referral services” to individuals looking for apartments. Id.

Those “actions directly affected and interfered with [the plaintiff’s] core business activities,”

similar “to a retailer who sues a manufacturer for selling defective goods to the retailer.” Id. And

it was this direct injury to the plaintiff’s core business activity—not the plaintiff’s voluntary

diversion of resources away from its other activities and toward advocating against the defendant’s

actions—that established standing. See id.

       Applying this rule, the Supreme Court held that the Alliance for Hippocratic Medicine

plaintiffs lacked standing. See id. The challenged FDA actions had simply resulted in the plaintiffs

changing their spending priorities across their various activities—a classic diversion of resources

that does not satisfy Article III. See id. Those actions had not “imposed any similar impediment”

on any of the plaintiffs’ “core business activities,” which they remained free to carry out on the

same terms as they had done prior to the challenged actions. Id. Indeed, the challenged actions

had not changed anything about how the plaintiffs operated or inhibited their ability to carry out

their core business activities. See id.

       Second, in addition to foreclosing resource-diversion standing, the Supreme Court

reaffirmed that the “causation requirement is central to Article III standing.” Id. at 383. “Without

the causation requirement, courts would be virtually continuing monitors of the wisdom and

soundness of government action.” Id at 383–84. Accordingly, federal courts must robustly enforce

the causation requirement of Article III standing. See id.




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       A few weeks after Alliance for Hippocratic Medicine, the Supreme Court again confirmed

that “standing is not dispensed in gross” and that “plaintiffs must demonstrate standing for each

claim that they press against each defendant, and for each form of relief they seek.” Murthy v.

Missouri, __S. Ct.__, 2024 WL 3165801, at *9 (June 26, 2024) (cleaned up). Accordingly, Article

III is not satisfied by a plaintiff’s contention that it was injured by the challenged law as a whole.

See id. Instead, where the plaintiff seeks an injunction or declaratory relief against a particular

part of a challenged law, the plaintiff must show an injury from that part of the law, not the law as

a whole. See id.; see also In re Gee, 941 F.3d 153, 161–62 (5th Cir. 2019).

       Since Alliance for Hippocratic Medicine, at least two district courts have concluded that

organizations lacked standing based on their alleged diversion of resources. See Citizens Project

v. Colorado Springs, No. 1:22-cv-01365, 2024 WL 3345229 (D. Colo. July 9, 2024); Plant Based

Food Ass’n v. Stitt, No. 20-938, 2024 WL 3106901, at *3–4 (W.D. Okl. June 24, 2024). In Citizens

Project, for example, voting-rights organizations alleged they diverted resources to turning out

voters because of a municipality’s decision to host elections in years when other major elections

were not happening. Citizens Project, 2024 WL 3345229, at *3–4. The court held that those

allegations were insufficient to establish standing because Alliance for Hippocratic Medicine

“suss[ed] out” the “diversion-of-resources injury claimed by plaintiffs.” Id. at *14–15. And the

“fact that Plaintiffs [were] dedicated to serving voters [was] not enough to confer organizational

standing,” even if the plaintiffs had to divert resources to continue engaging in that work because

of the challenged law. Id. at *15.




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II.    THE ORGANIZATIONAL PLAINTIFFS LACK STANDING UNDER ALLIANCE
       FOR HIPPOCRATIC MEDICINE.

       The organizational Plaintiffs’ suit cannot survive Alliance for Hippocratic Medicine.

       First, the organizational Plaintiffs attempt to ground their standing on their diversion of

resources to educate the public regarding, and to advocate against, S.B. 1—but that is the very

resource-diversion theory of standing that Alliance for Hippocratic Medicine rejected. Compare

602 U.S. at 394–95; Citizens Project, 2024 WL 3345229, at *14–15; Plant Based Food Ass’n,

2024 WL 3106901, at *3–4, with ECF 849 at 64 (“The resources redirected to LULAC’s voter

education campaign were diverted from LULAC’s education, scholarship, voter registration, and

naturalization and citizenship programs and events.”); ECF No. 855 at 22–27 (asserting diversions

of resources by LUPE Plaintiffs); ECF No. 856 at 236 (asserting MFV “saw how great the need

was to divert resources to MFV’s election work to address the impacts of SB 1.”); id. at 246

(“HAUL has demonstrated injury in fact by showing that SB 1 has required the organization to

divert resources in a manner that concretely and perceptibly impaired its ability to fulfill its

mission.” (cleaned up)); id. at 248 (“SB1 has forced [Delta] to divert resources away from voter

mobilization and towards educating more voters about SB1’s provisions . . . .”); ECF No. 852 at 5

(“The Arc of Texas had to divert staff time and resources to ensure that its members understood

SB 1 changes and, as a result, did not have the resources to dedicate to its other policy priorities.”

(cleaned up)).

       Nor can the organizational Plaintiffs’ suit be salvaged by their contention that their

diversion of resources impaired their organizational mission or core business activities—as

Alliance for Hippocratic Medicine also makes clear. Compare 602 U.S. at 394-95; Citizens

Project, 2024 WL 3345229, at *15, with ECF No. 849 at 59 (LULAC linking diversion of




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resources to impairment); ECF No. 855 at 33 (LUPE linking diversion of resources to impairment);

ECF No. 856 at 220 (MFV linking diversion of resources to impairment).

       Indeed, the organizational Plaintiffs do not identify any injuries S.B. 1 directly imposed on

their core business activities, much less any injury remotely similar to the injury suffered by a

retailer sold “defective goods” by a manufacturer. Alliance for Hippocratic Medicine, 602 U.S. at

395. Instead, they rely upon a misreading of Havens Realty that the Supreme Court rejected, see

id at 394-95, and the pre-Alliance for Hippocratic Medicine Fifth Circuit cases adopting that same

misreading, such as OCA-Greater Houston, see, e.g., ECF No. 849 at 59; ECF No. 852 at 106

(citing OCA-Greater Houston, 82 F.4th at 610–12; La. Fair Hous. Action Ctr., Inc. v. Azalea

Garden Props., LLC, 82 F.4th 345, 351, 353 (5th Cir. 2023), and Vote.org v. Callanen, 89 F.4th

459, 471 (5th Cir. 2023)). But Article III standing cannot be “extend[]ed” “beyond [the] context”

of “direct[] . . . interfere[ence]” with an organization’s “core business activities” to reach an

organization’s voluntary diversion of resources across its activities. Alliance for Hippocratic

Medicine, 602 U.S. at 395. The organizational Plaintiffs’ attempt to “spend [their] way into

standing” therefore fails. Id. at 394.

       Second, even if the organizational Plaintiffs’ resource-diversion theory somehow survived

Alliance Hippocratic Medicine, they still fail to satisfy the causation requirement of Article III

standing. See Alliance for Hippocratic Medicine, 602 U.S. at 383. The organizational Plaintiffs

attempt to trace their alleged-resource diversion injuries to S.B. 1 as a whole rather than to any of

the challenged provisions. See ECF No. 862 at 30, 35–80; see also, e.g., ECF No. 849 at 68

(“AFT’s diversion of resources, which includes both financial resources and staff and volunteer

time, is sufficient to establish that it has suffered an injury-in-fact because of SB 1.”); ECF No.

856 at 247 (“HAUL’s injuries are traceable to the Defendants’ implementation and enforcement



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of SB1, which is the direct cause of the organization’s resource drain . . .”). Indeed, Plaintiffs have

never really tried to trace their alleged injuries to specific challenged provisions. Although the

record is full of witness assertions that organizations diverted resources in response to S.B. 1 as a

whole, there is virtually no evidence about how resources were diverted in response to specific

provisions. No one, for example, has explained how (or why) an organization diverted resources

in response to section 6.01’s requirement that an individual transporting seven or more voters to

vote curbside fill out a form. See ECF No. 862 at 30, 35–80.

       This problem was obvious even before Alliance for Hippocratic Medicine. See, e.g., Gee,

941 F.3d at 161–62. Defendants and Intervenor-Defendants prominently highlighted this problem

in their conclusions of law and at closing argument, see ECF No. 862 at 30, 35–80; Closing

Argument Standing Slideshow at 7–10. Yet neither in their briefs nor in the rebuttal portion of

their closing arguments did Plaintiffs identify record evidence linking alleged resource-diversions

to most of the specific provisions they challenge.

       Alliance for Hippocratic Medicine only confirms that Plaintiffs’ failure to identify any such

evidence is fatal. After all, as explained, that decision underscores Plaintiffs’ burden to prove that

the specific S.B. 1 provisions they challenge “directly affected and interfered with [the

organizational plaintiffs’] core business activities.” Alliance for Hippocratic Medicine, 602 U.S.

at 395; see supra at 6. Plaintiffs, however, have failed to adduce any such evidence for numerous

of the challenged provisions.

III.   THE COURT SHOULD DISMISS THE ORGANIZATIONAL PLAINTIFFS AND
       NUMEROUS CHALLENGES TO S.B. 1.

       The organizational Plaintiffs’ failures to prove standing under Alliance for Hippocratic

Medicine warrant dismissal of several Plaintiffs and numerous challenges to S.B. 1. Indeed,




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Alliance for Hippocratic Medicine alone has significantly narrowed the issues remaining for the

Court’s resolution.

       First, the Court should dismiss from the case the three Plaintiffs that assert only resource-

diversion standing: Mi Familia Vota, HAUL, and Voto Latino.             See ECF No. 1136 at 1

(recognizing this problem for those Plaintiffs): accord ECF No. 862 at 45 (discussing Voto

Latino), 48 (discussing HAUL), 60 (discussing MFV); Oct. 3, 2023 Tr. at 2264:15–19

(confirmation that HAUL has no members); Oct. 10, 2023 Tr. at 3467:3–5 (confirming MFV has

no members); Oct. 11, 2023 Tr. at 115:19–23 (confirmation Voto Latino has no members); see

also Alliance for Hippocratic Medicine, 602 U.S. 394–95. Because those Plaintiffs are the only

parties challenging sections 2.05, 2.06, 2.07, 5.11, and 7.02, see ECF No. 862 at 32, 35; Closing

Argument Standing Slideshow at 2, those challenges should be dismissed as well.

       Second, the Court should hold that the remaining organizational Plaintiffs also failed to

establish standing. That holding would result in dismissal of Plaintiffs’ challenges to S.B. 1’s

provisions related to drive thru voting (sections 3.04, 3.12, and 3.13), 24-hour voting (3.09 and

3.10), section 3.15’s implementation of a straight-ticket voting ban, section 4.12’s in-person

delivery requirement, and section 6.01’s form-completion requirement for individuals who

transport seven or more voters to the polling place. Mi Familia Vota, HAUL, and Voto Latino

assert resource-diversion standing to challenge those provisions, as do Delta Sigma Theta, LULAC

Texas, Texas AFT, and TARA. See ECF No. 862 at 31. That assertion is no longer viable and

should be rejected. See Alliance for Hippocratic Medicine, 602 U.S. 394–95.

       Those latter four Plaintiffs also assert associational standing. Id. at 36–37 (discussing

LULAC), 41 (discussing Texas AFT), 43–44 (discussing TARA) 52 (discussing Delta). But they

lack associational standing to challenge sections 3.04, 3.09, 3.10, 3.12, 3.13, 3.15, and 4.12



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because they could not identify a single “specific member” harmed by any of those provisions.

See NAACP v. City of Kyle, 626 F.3d 233, 237 (5th Cir. 2010); Summers v. Earth Island Inst., 555

U.S. 488, 493 (2009); see also ECF No. 862 at 36–37 (discussing LULAC), 41 (discussing Texas

AFT), 43–44 (discussing TARA) 52 (discussing Delta). As a result of that failure, no Plaintiff

remains to challenge sections 3.04, 3.09, 3.10, 3.12, 3.13, 3.15, and 4.12, see ECF No. 862 at 32–

35; Closing Argument Standing Slideshow at 2, and the challenges to those provisions should be

dismissed as well.

       Third, as Defendants already have explained, the Court should dismiss a variety of other

challenges for lack of standing even under pre-Alliance for Hippocratic Oath law. See ECF No.

862 at 28–80.

                                        CONCLUSION

       The Court should reject the organizational Plaintiffs’ theories of standing, dismiss them

from this case, and dismiss the numerous challenges to S.B. 1 that they alone assert.




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Date: July 11, 2024                          Respectfully submitted.

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                                CERTIFICATE OF SERVICE

       I hereby certify that on July 11, 2024, I electronically filed the foregoing with the Clerk of
Court using the CM/ECF system, which will send notification of this filing to all counsel of record.

                                                 /s/ Ryan G. Kercher
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